Case ameeaa \)'\\¢)\\" [yp ovr Page 1 of 3

In the Guited States Court of Feveral Claims

Nos, 18-593C, 18-594C, & 18-597C
CONSOLIDATED
(Filed: August 24, 2018)

 

 

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NARA G. KING, )
5 FILED

Pro Se Plaintiff, )
) AUG 24 2018
Vv. ) U.S. COURT OF
) FEDERAL CLAIMS

THE UNITED STATES, )

)

Defendant. )

)

ORDER

On June 21, 2018, the court issued an order (Docket No. 7) which granted
defendant’s motion to consolidate three of pro se plaintiff's complaints. In that same
order the court gave notice that Ms. King had until July 20, 2018, to respond to
defendant’s motion to dismiss (Docket No. 6). On August 9, 2018, the court issued a
second order (Docket No. 10) giving notice that Ms. King had until August 17, 2018, to
respond to defendant’s motion to dismiss and that failure to do so, would result the
dismissal of the consolidated cases for failure to prosecute.!

A review of court records indicates that as of this date, Ms. King has yet to
respond to defendant’s motion to dismiss the above-captioned consolidated cases.
Accordingly, because Ms. King has failed to timely comply with the courts orders, the
above-captioned consolidated cases are hereby DIMISSED pursuant to Rule 41(b) of the
Rules of the United States Court of Federal Claims for failure to prosecute.

IT IS SO ORDERED. IM.

NANCY B. FIRESTONE |
Senior Judge

 

 

lA courtesy copy of the court’s June 21, 2018 and August 9, 2018 orders, referenced
above, are attached.

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Case 1:18-cv-00593-NBF Document 12 Filed 08/24/18 Page 2 of 3
Case 1:18-cv-00593- vy Wal 7 Filed 06/21/18 Page lof1

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In the Anited States Court of Federal Claims

 
 

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FILED
No, 18-593C
(Filed: June 21, 2018) JUN 2 1 2018
U.S. COURT OF
) FEDERAL CLAIMS
NARA G. KING, )
)
Pro Se Plaintiff, )
)
v, )
)
THE UNITED STATES, )
)
Defendant. )
)
ORDER

The court is in receipt of defendant’s motion (Docket Entry 6), filed June 20,
2018, (1) to consolidate the above-captioned case with the two other cases filed by pro se
plaintiff, Case No. 18-594C and 18-597C and (2) to dismiss the three complaints filed,
The court ORDERS as follows:

(1) Defendant’s motion to consolidate pro se plaintiff's three cases is
GRANTED. Accordingly, Case Nos. 18-593C, 18-594C, and 18-597C are
hereby CONSOLIDATED. All future filings shall be filed in the lead
case, Case No, 18-593C.

(2) Pro se plaintiff shall have until July 20, 2018 to file respond to defendant’s
motion to dismiss his complaints.

IT 1S SO ORDERED.

 

 

NANCW B. FIRESTONE
Senior Judge

 

 
Case 1:18-cv-00593-NBF Document 12 Filed 08/24/18 Page 3 of 3
Case 1:18-cv-00593-NBF Document 10 Filed 08/09/18 Page 1 of 1

In the Gnited Ok GIN A

  

Peveral Claims

Nos, 18-593C, 18-594C, & 18-597C
CONSOLIDATED
(Filed: August 9, 2018)

 

 

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NARA G. KING, ) a
) FILED
Pro Se Plaintiff, )
) AUG = 9 2018
Vv. ) U.S. COURT OF
) FEDERAL CLAIMS
THE UNITED STATES, )
)
Defendant. )
)
ORDER

On June 20, 2018, defendant filed a motion to consolidate Case Nos. 18-593C, 18-
594C, and 18-597C and to dismiss the plaintiffs complaints in these three cases (Docket
No. 6), On June 21, 2018, the court (Docket No. 7) issued an order granting defendant’s
motion to consolidate, The court’s order also gave plaintiff notice that she had until July
20, 2018, to respond to defendant’s motion,

A review of court records indicates that plaintiff has yet to respond to defendant’s
motion to dismiss his complaints in the above-captioned consolidated matter. Plaintiff
shall have until August 17, 2018, to respond to defendant’s motion to dismiss the three
consolidated cases, Should plaintiff fail to respond, the court will dismiss the above-

captioned consolidated cases for failure to prosecute.

eee 4
Senior Judge

IT IS SO ORDERED.

 

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